

People v Peters (2024 NY Slip Op 05871)





People v Peters


2024 NY Slip Op 05871


Decided on November 25, 2024


Court of Appeals



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 25, 2024

No. 94 

[*1]The People &amp; c., Respondent,
vTyrone Peters, Appellant.


Eric Nelson, for appellant.
Solomon Neubort, for respondent.



Order affirmed. A Judge of this Court granted defendant leave to appeal from the Appellate Division's denial of his coram nobis petition (39 NY3d 1112 [2023]). Counsel does not present any claim raised below and thus raises no reviewable issues on appeal. Defendant is not precluded from filing another coram nobis application at the Appellate Division raising the ineffectiveness of his appellate counsel on his direct appeal of the judgment of conviction and sentence (see People v D'Alessandro, 13 NY3d 216, 220-221 [2009]), nor is he precluded from filing a coram nobis application on any new grounds not previously raised before the Appellate Division. Chief Judge Wilson and Judges Rivera, Garcia, Singas, Cannataro, Troutman and Halligan concur
Decided November 25, 2024










